                       Case 3:20-cr-00313-JD Document 1 Filed 06/10/20 Page 1 of 11
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT                                                         FILED
                                                                 for the
                                                                                                                            Jun 10 2020

                                                     Northern District
                                                   __________  DistrictofofCalifornia
                                                                            __________                                    SUSANY. SOONG
                                                                                                                     CLERK, U.S. DISTRICT COURT
                                                                                                                  NORTHERN DISTRICT OF CALIFORNIA
                  United States of America                          )                                                      SAN FRANCISCO

                             v.                                     )
                JOHN ARTHUR HUDSON
                                                                    )        Case No. 3-20-70747 JCS
                   a/k/a Art HUDSON                                 )
                  a/k/a J.A. HUDSON                                 )
                                                                    )
                                                                    )
                          Defendant(s)


                                                   CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of              April 2011 through June 2018       in the county of San Francisco and elsewhere in the
     Northern          District of            California        , the defendant(s) violated:

            Code Section                                                      Offense Description
18 U.S.C. § 1343                                  Wire Fraud

                                                  Maximum penalties: 20 years’ imprisonment, $250,000 fine or twice the gross
                                                  gain or loss, three years supervised release; mandatory $100 special
                                                  assessment




         This criminal complaint is based on these facts:
See attached affidavit of FBI Special Agent Jeffrey Chisholm




         ✔ Continued on the attached sheet.
         ’

                                                                                                 /s
                                                                                               Complainant’s signature
         Approved as to form _______________
                                                                                    Jeffrey Chisholm, Special Agent, FBI
                             AUSA Eric Cheng
                                                                                                Printed name and title
                                           via telephone
Sworn to before me and signed in my presence.


Date:        June 9, 2020
                                                                                                  Judge’s signature

City and state:                  San Francisco, California                   Hon. Joseph C. Spero, Chief U.S. Magistrate Judge
                                                                                                Printed name and title



        Print                        Save As...                  Attach                                                      Reset
              Case 3:20-cr-00313-JD Document 1 Filed 06/10/20 Page 2 of 11



                  AFFIDAVIT OF SPECIAL AGENT JEFFREY CHISHOLM
                       IN SUPPORT OF CRIMINAL COMPLAINT

       I, Jeffrey Chisholm, being duly sworn, depose and state as follows:

                                         INTRODUCTION

       1.        I am a Special Agent with the Federal Bureau of Investigation (“FBI”) and have

been so employed since September 2004. For the last 15 years, I have been assigned to the San

Francisco Division of the FBI, where I have been responsible for investigating complex financial

crimes. During my career with the FBI, I have received specialized training in the investigation

of financial crimes and have participated in numerous criminal investigations involving wire

fraud, mortgage fraud, and money laundering. In those matters, I have submitted probable cause

statements in the form of sworn affidavits to federal magistrate judges in the Northern District of

California.
                                    PURPOSE OF AFFIDAVIT

       2.        This affidavit is made in support of an application for a criminal complaint

charging JOHN ARTHUR HUDSON with wire fraud in violation of Title 18, United States

Code, Section 1343, which occurred in or about April 2011 through at least June 2018, in the

Northern District of California and elsewhere.

       3.        The facts set forth in this affidavit are based upon my training and experience as a

Special Agent of the FBI, information provided to me by witnesses, and documents reviewed

during the course of my investigation. Because this affidavit is being submitted for the limited

purpose of establishing probable cause in support of a criminal complaint, it does not include all

the facts that I have learned during the course of my investigation. The witness statements and

documentary evidence described in this affidavit are related in substance and in part only. I have

summarized information, including information received from law enforcement agents and

officers, documents, and records. I have set forth those facts that I believe are sufficient to

support the issuance of the requested complaint, arrest warrant, and summons. I am not relying

upon facts not set forth herein to support my conclusion.
            Case 3:20-cr-00313-JD Document 1 Filed 06/10/20 Page 3 of 11




                                     APPLICABLE STATUTE

       4.      Title 18, United States Code, Section 1343 makes it illegal to devise any scheme

or artifice to defraud, and to transmit or cause to be transmitted by means of wire communication

in interstate commerce any writings, signs, signals, pictures, or sounds for the purpose of

executing such scheme or artifice.

                         BACKGROUND & RELEVANT PARTIES

       5.      JOHN ARTHUR HUDSON, who was also known as Art HUDSON and J.A.

HUDSON, resided in the Northern District of California. HUDSON practiced law in Monterey

County, California, after his admission to the State Bar of California in or about May 1979.

       6.      Victim-1 was an individual residing in the Northern District of California.

Victim-2 was an individual residing elsewhere in California. Victim-1 and Victim-2 were the

beneficiaries of a trust (“the Trust”), which became irrevocable upon the death of their father in

1989. The Trust was set to terminate by its terms in August 2019.




                              Photograph of the Fillmore Property

       7.      The Trust owned a commercial property on Fillmore Street in San Francisco,

California (“the Fillmore Property”). The Elite Cafe, a New Orleans-inspired restaurant, was

located at the Fillmore Property. Pursuant to the terms and conditions of a lease agreement, the



                                                 2
              Case 3:20-cr-00313-JD Document 1 Filed 06/10/20 Page 4 of 11




Trust received rental income from the owner of the Elite Cafe (“Tenant-1”). A significant

portion of the rental income generated by the Trust was disbursed by the trustee to Victim-1 and

Victim-2 in the form of beneficiary distributions.

        8.       HUDSON was nominated as successor trustee of the Trust after the prior trustee

of the Trust became disabled in or about October 2010. HUDSON was formally appointed as

trustee of the Trust by the Superior Court of California, County of Monterey, on or about

February 18, 2011. In this role, HUDSON owed numerous fiduciary duties to the Trust and its

beneficiaries, Victim-1 and Victim-2. HUDSON received annual fees as compensation for his

role as trustee of the Trust.

        9.       Lender-1, a private lender, was an individual residing in the Northern District of

California.

        10.      Victim-3 was an individual residing in the Northern District of California.

Victim-3 was a legal client of HUDSON in matters unrelated to the Trust and the Fillmore

Property.

                                 OVERVIEW OF THE SCHEME

        11.      Between in or about April 2011 through at least June 2018, HUDSON knowingly

devised and executed a scheme to defraud wherein he fraudulently obtained loans from lenders

as trustee of the Trust. As part of the scheme, HUDSON pledged the Fillmore Property as

security and falsely represented that the loan proceeds would be used to improve the Fillmore

Property.

        12.      HUDSON obtained these loans as trustee of the Trust without the authorization or

knowledge of Victim-1 or Victim-2, the beneficiaries of the Trust, notwithstanding his fiduciary

duties to them and the Trust. With respect to the loans from Lender-1, HUDSON placed the

Trust’s assets at risk of loss and deprived the Fillmore Property of valuable equity, which was

owned by the Trust for the benefit of Victim-1 and Victim-2.

        13.      In total, HUDSON caused at least $680,000 in loans to be obtained over multiple

installments as trustee of the Trust. HUDSON personally profited from the loan proceeds and


                                                  3
              Case 3:20-cr-00313-JD Document 1 Filed 06/10/20 Page 5 of 11




did not use any of the money to improve the Fillmore Property.

        14.      The Trust sold the Fillmore Property on or about January 18, 2019.

Approximately $633,000 in proceeds from the sale went to Lender-1 to pay off the loans

obtained by HUDSON as trustee of the Trust. As a result of HUDSON’s scheme to defraud,

Victim-1 and Victim-2 received smaller distributions from the sale of the Fillmore Property than

they otherwise would have received had it not been encumbered.

                                FACTS ESTABLISHING PROBABLE CAUSE

        Interviews of Victim-1 and Victim-2
        15.      On February 11, 2019, I interviewed Victim-1 and Victim-2. Both victims told

me that, between approximately late 2010 and the middle of 2018, HUDSON made distributions

to them from the Trust on a monthly basis. During this time, HUDSON made the monthly

distributions; however, he always seemed reluctant to provide an accounting of the Trust's

income and expenses. Victim-1 and Victim-2 repeatedly requested a formal accounting from

HUDSON.

        16.      Occasionally, HUDSON provided written financial updates and tax documents

regarding the Trust. None of these documents or communications disclosed the existence of any

loans that HUDSON obtained against the Fillmore Property. 1 As an example, on or about

December 10, 2016, HUDSON represented in an email to Victim-1 and Victim-2 that the Trust’s

bank account contained a balance of over $12,000. 2 Likewise, on or about June 12, 2018,

HUDSON represented in an email to Victim-2 that the Trust’s bank account contained a balance

of over $12,000. Victim-2 went to a local Wells Fargo branch in an effort to independently

verify the account balance. A bank representative informed her that the account contained much

less.

        17.      At that point, Victim-2 suspected that HUDSON had violated his fiduciary

1
  Victim-2 used a Google email account (“Gmail account”) to communicate with HUDSON. As part of my
investigation, I contacted Google and was informed that the company did not have email servers in the state of
California between July 1, 2015 and July 9, 2018. Therefore, I believe the relevant emails received by Victim-2 in
the Northern District of California were transmitted via interstate wire communications.
2
  I obtained copies of bank records demonstrating that the balance was actually below $2,000.


                                                         4
             Case 3:20-cr-00313-JD Document 1 Filed 06/10/20 Page 6 of 11




responsibilities to the Trust. Shortly thereafter, Victim-1 and Victim-2 retained an attorney who

uncovered information showing that HUDSON had improperly obtained multiple loans against

the Fillmore Property.

       Interview of Lender-1

       18.      On May 14, 2019, I interviewed Lender-1, who has operated as a private lender in

the commercial lending business for approximately 35 years. Lender-1 advised that he loaned

$250,000 to the Trust in approximately April 2011. In exchange for the loan, HUDSON

executed a deed of trust on the Fillmore Property and a promissory note in Lender-1's favor. The

note called for the Trust to make monthly interest-only payments and to repay the principal

balance when the loan matured in May 2013. In the loan documents, HUDSON certified as

trustee of the Trust that the loan was for the business of the Trust, that the loan proceeds were to

be used for “routine upgrades,” “maintenance,” “property development,” “reserve,” and

“business opportunity development,” and that no part of the loan proceeds were to be used for

non-business purposes.

       19.      In or around March 2013, HUDSON contacted Lender-1 and requested an

extension of the loan's maturity date to May 2015. Lender-1 agreed to the loan modification

because HUDSON was making interest payments on a timely basis. At HUDSON's request,

Lender-1 agreed to another loan modification in approximately March 2015 that extended the

maturity date to 2017.

       20.      In or around May 2016, HUDSON asked for a third extension of the loan's

maturity date to May 2019. He also asked for an advance of an additional $270,000 in order to

make improvements to the Fillmore Property. Lender-1 was concerned that the advance would

increase his loan-to-value ratio and thus the risk of losing money on his investment.

Accordingly, he required assurances from HUDSON that the money would be used to make

improvements to the Fillmore Property to increase its value. As a condition for making the

advance, Lender-1 required HUDSON to submit paid invoices showing that at least $150,000 in

loan proceeds was spent on improvements. It was also agreed that Lender-1 would withhold


                                                  5
              Case 3:20-cr-00313-JD Document 1 Filed 06/10/20 Page 7 of 11




$50,000 of the $270,000 until HUDSON provided copies of the invoices. Among other

materials, HUDSON provided Lender-1 a list of cost estimates for furniture, fixtures, and

equipment (“FF&E”) and construction. 3 Based on HUDSON's assurances, Lender-1 loaned an

additional $270,000 to the Trust in approximately July 2016 and they increased the amount set

forth in the deed of trust on the Fillmore Property accordingly.

        21.      On or about October 27, 2016, Lender-1 received an email 4 from HUDSON

advising him that the improvements were made to the Fillmore Property. HUDSON also

provided Lender-1 with an invoice 5 relating to the improvements and requested Lender-1 to

release the additional $50,000 that was withheld from the July 2016 advance. Lender-1 asked

HUDSON for the invoice because he wanted to make sure that his money was used to improve

the Fillmore Property. Based on HUDSON's representations that the advance was used for

improvements to the Fillmore Property, Lender-1 mailed a $50,000 check to HUDSON on or

about November 7, 2016.

        22.      On or about October 18, 2017, Lender-1 received an email from HUDSON in

which HUDSON requested another advance to make more upgrades to the Fillmore Property.

Lender-1 agreed to advance the funds and wired approximately $94,000 to HUDSON. They also

increased the amount set forth in the deed of trust on the Fillmore Property accordingly. Lender-

1 advised that HUDSON's representation that these funds would be used to make additional

upgrades to the Fillmore Property was material to his decision to lend the money to the Trust.

        23.      The Trust sold the Fillmore Property on or about January 18, 2019. In connection

with the sale, Lender-1 received approximately $633,000 from an escrow company to pay off the


3
  Based on materials obtained from Tenant-1 (described below in paragraph 25), I believe HUDSON sent the cost
estimates under false pretenses, and provided such to Lender-1 to falsely represent that loan proceeds would be used
to make improvements to the Fillmore Property.
4
  Lender-1 used a Google email account (“Gmail account”) to communicate with HUDSON. As part of my
investigation, I contacted Google and was informed that the company did not have email servers in the state of
California between July 1, 2015 and July 9, 2018. Therefore, I believe the relevant emails received by Lender-1 in
the Northern District of California were transmitted via interstate wire communications.
5
  Based on statements obtained from Tenant-1 (described below in paragraphs 24–27), I believe HUDSON sent the
invoice under false pretenses, and provided such documentation to Lender-1 to falsely represent that loan proceeds
were used to make improvements to the Fillmore Property.


                                                         6
               Case 3:20-cr-00313-JD Document 1 Filed 06/10/20 Page 8 of 11




outstanding loan balance owed by the Trust.

         Interview of Tenant-1

         24.      On April 15, 2019, I interviewed Tenant-1 who was the general partner of an

investment group that owned and operated the Elite Cafe. Tenant-1 advised that he sent monthly

rent payments to HUDSON in accordance with a lease agreement that Tenant-1 had with the

Trust.

         25.      Before acquiring the Elite Cafe from its previous owner in or around June 2016,

Tenant-1’s agent provided to HUDSON proposals regarding updating the restaurant. 6 After

acquiring the restaurant, Tenant-1 hired a general contractor to renovate the restaurant. The

work associated with the renovation began in approximately July 2016 and was completed in

approximately October 2016. The cost of the project, including the purchase of new furniture

and fixtures, was in excess of $500,000.

         26.      Tenant-1 and his investment group paid for the renovation of the Elite Cafe in its

entirety. Neither HUDSON, nor the Trust, paid for any of the improvements.

         27.      At HUDSON's request, Tenant-1 emailed invoices 7 relating to the renovation,
including the invoices he received from the general contractor, to HUDSON. HUDSON told

Tenant-1 that he needed the invoices for insurance purposes.

         Interview of Tenant-2

         28.      On May 14, 2019, I interviewed Tenant-2, the tenant of the Fillmore Property and

owner of the Elite Cafe before Tenant-1. Tenant-2 advised that after HUDSON became trustee

of the Trust, Tenant-2 sent monthly rent payments to HUDSON in accordance with a lease

agreement that Tenant-2 had with the Trust.

         29.      Tenant-2 confirmed that the Trust did not pay for any improvements during the

time period that HUDSON was trustee of the Trust.


6
  I obtained copies of the documentation sent to HUDSON in connection with the proposals, including cost
estimates that I believe HUDSON provided to Lender-1 for the July 2016 advance under false pretenses.
7
  I obtained copies of the documentation Tenant-1 sent to HUDSON in connection with the renovation, including an
invoice that I believe HUDSON emailed to Lender-1 on or about October 27, 2016 under false pretenses.


                                                       7
                 Case 3:20-cr-00313-JD Document 1 Filed 06/10/20 Page 9 of 11




           Interview of Victim-3

           30.      On May 6, 2019, I interviewed Victim-3 who advised that he hired HUDSON to

represent him in a lawsuit against a water utility company after a water line owned by that

company ruptured and caused damage to Victim-3’s home. HUDSON filed a lawsuit on Victim-

3’s behalf in approximately May 2015. A settlement agreement was reached between Victim-3

and the utility company in approximately May 2016. As part of the settlement, the utility

company agreed to pay him $195,000. Victim-3 received a settlement payment in this amount

from HUDSON in approximately July 2016. 8

           31.      In or around October 2017, HUDSON contacted Victim-3 via email with a

business opportunity that was unrelated to his prior legal representation. As part of the proposal,

HUDSON told Victim-3 that he was the trustee of a Trust that owned a building in San

Francisco. He further represented that the Trust was in need of a $60,000 loan to pay for

renovations to the building, including the replacement of an exterior sidewalk. HUDSON told

Victim-3 that if he decided to loan the funds, the Trust would repay his money plus 10% interest

in 30 days. Additionally, HUDSON told Victim-3 that the loan would be risk-free because it

was secured by the property.

           32.      Victim-3 loaned $60,000 to the Trust in approximately October 2017 based on

HUDSON’s representations. HUDSON gave him a promissory note memorializing the terms

and conditions of the loan. Victim-3 did not conduct any due diligence before he gave

HUDSON the money because HUDSON told him the loan was risk-free. Moreover, Victim-3

trusted HUDSON because he was his attorney.

           33.      HUDSON defaulted on the loan extended by Victim-3 and has not responded to

Victim-3’s attempts to collect the outstanding balance.

           Financial Analysis of HUDSON’s Bank Accounts

           34.      As part of my investigation, I have traced the money obtained from Lender-1 and


8
    This transaction is discussed in further detail in paragraph 36 below.


                                                             8
           Case 3:20-cr-00313-JD Document 1 Filed 06/10/20 Page 10 of 11




Victim-3 to the following bank accounts controlled by HUDSON:

                 a) an account at Wells Fargo held in the name of the Trust with an account

                 number ending in -0741 (“Account 0741”); and

                 b) an account at Bank of America held under the name “J A Hudson, Attorney

                 Client Trust Account” with an account number ending in -5233 (“Account

                 5233”).

        35.      Bank records for Account 0741 and Account 5233 show that HUDSON received

at least $633,824.80 in net loan proceeds from Lender-1 and Victim-3 through the following

transactions:


       Transaction          Amount           Transaction          Source of            Destination
          Date                                  Type               Funds                Account
        04/26/2011       $230,478.80       Check                   Lender-1           Account 0741

        07/21/2016       $199,716.00       Wire Transfer 9         Lender-1           Account 5233

        11/07/2016         $50,000.00      Check                   Lender-1           Account 5233

        10/25/2017         $60,000.00      Check                   Victim-3           Account 5233

        11/17/2017         $93,630.00      Wire Transfer4          Lender-1           Account 5233

        36.      Based on my review of the bank records, I believe that HUDSON personally

profited from loan proceeds received from Lender-1 and Victim-3 and used most of the funds to

pay for debts and expenses that were unconnected to the Trust. For example, the bank records

for Account 5233 revealed that HUDSON used the funds he received from Lender-1 on July 21,

2016 to purchase a cashier’s check in the amount of $195,000 payable to Victim-3. According to

Victim-3, this payment represented the settlement he received from his lawsuit against the water

utility company. However, the bank records show that HUDSON collected the actual settlement

payment from the utility’s insurance company nearly two months earlier, on or about June 2,

9
  As part of the investigation, I contacted the Federal Reserve Bank and was informed that the wire transfers
occurring on July 21, 2016 and November 17, 2017 were transmitted through its Fedwire Funds Transfer System
(FFTS). I was also advised that the Federal Reserve Bank had data servers in Texas, through which all FFTS
transactions were processed during the period relevant to this affidavit.


                                                       9
            Case 3:20-cr-00313-JD Document 1 Filed 06/10/20 Page 11 of 11




2016. Instead of immediately disbursing these funds to Victim-3, HUDSON used them to settle

an unrelated lawsuit with a former business partner, to pay his mortgage, and to issue checks

payable to himself and his family members.

       37.     Similarly, the bank records for Account 5233 show that HUDSON used the

$60,000 loan he received from Victim-3 on or about October 25, 2017 to pay the plaintiff of

another lawsuit unrelated to HUDSON’s representation of Victim-3, the Trust, or the Fillmore

Property.

       38.     In total, I traced more than $370,000 in net loan proceeds from Lender-1 and

Victim-3 to unrelated legal settlement payments, personal mortgage and credit card payments,

checks payable to HUDSON, and other personal expenses. While a small percentage of the total

net loan proceeds was traced to Trust-related disbursements, including monthly distribution

payments to Victim-1 and Victim-2, none of the money received from Lender-1 and Victim-3

appears to have been spent on improvements to the Fillmore Property.

                                        CONCLUSION

       39.     Based on the above information, I submit that there is probable cause to believe

that JOHN ARTHUR HUDSON has committed wire fraud in violation of Title 18, United States

Code, Section 1343. Therefore, I respectfully request that this Court issue a criminal complaint,

arrest warrant, and summons.

                                                           s/
                                                  JEFFREY CHISHOLM
                                                  Special Agent
                                                  Federal Bureau of Investigation


Sworn to before me over the telephone and signed by me pursuant to Fed. R. Crim. P. 4.1 and
             9th day of June 2020.
4(d) on this ___



HONORABLE JOSEPH C. SPERO
CHIEF UNITED STATES MAGISTRATE JUDGE



                                               10
